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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )             4:11CR3087
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )             ORDER
TERRELLE L. TYLER,                          )
                                            )
                    Defendant.              )



      IT IS ORDERED that a one and one-half hour evidentiary hearing, with sentencing
to follow, is scheduled for Tuesday, December 4, 2012, commencing at 10:30 a.m., before
the undersigned United States district judge, in Courtroom No. 2, Robert V. Denney United
States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.


      Dated November 26, 2012.


                                         BY THE COURT:

                                         Richard G. Kopf
                                         Senior United States District Judge
